               Case 4:17-cr-40100-KES Document 123 Filed 03/26/19 Page 1 of 7 PageID #: 338


AO 245B (Rev. 11/16) Judgment in a Criminal Case
         Sheet 1


                                        UNITED STATES DISTRICT COURT
                                   District Of South Dakota, Southern Division
                                                        )
              UNITED STATES OF AMERICA                  )     JUDGMENT IN A CRIMINAL CASE
                                 v.                                      )
                    Charles Marshall Smith,                              )       Case Number:              4:17CR40100-1
                         a/k/a "Blue"                                    )       USM Number:               17322-273
                                                                         )
                                                                         )       Manuel J. de Castro
                                                                                 Defendant's Attorney
THE DEFENDANT:
▪ pleaded guilty to count(s) 2 of the Indictment.

p pleaded nolo contendere to count(s)
   which was accepted by the Court.
❑ was found guilty on count(s)
  after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                                              Nature of Offense                                    Offense Ended          Count
21 U.S.C. § 841(a)(1)                                        Possession With Intent to Distribute a                    09/05/2017
                                                             Controlled Substance



The defendant is sentenced as provided in this Judgment. The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
O The defendant has been found not guilty on count(s)

▪ Count(s)                             1 of the Indictment                         • is 0 are dismissed on the motion of the United States.


It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence, or
mailing address until all fines, restitution, costs, and special assessments imposed by this Judgment are fully paid. If ordered to pay restitution,
the defendant must notify the Court and United States attorney of material changes in economic circumstances.

                                                                         03/25/2019
                                                                         Date of Imposition of Judgment




                                                                         Signature of Judge
                                                                                                   cAdfrui„3


                                                                         Karen E. Schreier United States District Judge
                                                                         Name and Title ofJudee


                                                                                                     1.0
                                                                         Dat
                Case 4:17-cr-40100-KES Document 123 Filed 03/26/19 Page 2 of 7 PageID #: 339
                                                                                                                         Judgment - Page 2 of 7

AO 245B (Rev. 11/16) Judgment in Criminal Case
         Sheet 2 — Imprisonment


DEFENDANT:                     Charles Marshall Smith
CASE NUMBER:                   4: 17CR40100-1


                                                              IMPRISONMENT

     a     The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:
           262 months.



     ❑        The Court makes the following recommendations to the Bureau of Prisons:




     •        The defendant is remanded to the custody of the United States Marshal.

     ❑       The defendant shall surrender to the United States Marshal for this district:

          ❑       at                               ❑     a.m.   ❑      p.m. on

         ❑        as notified by the United States Marshal.

     ❑       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          ❑       before 2 p.m. on

          ❑       as notified by the United States Marshal.

         ❑        as notified by the Probation or Pretrial Services Office.

                                                                  RETURN
I have executed this Judgment as follows:




         Defendant delivered on                                                          to

at                                                  , with a certified copy of this Judgment.


                                                                                                   UNITED STATES MARSHAL


                                                                              By

                                                                                                DEPUTY UNITED STATES MARSHAL
               Case 4:17-cr-40100-KES Document 123 Filed 03/26/19 Page 3 of 7 PageID #: 340
                                                                                                                       Judgment - Page 3 of 7

AO 245B (Rev. 11/16) Judgment in a Criminal Case
          Sheet 3 - Supervised Release


 DEFENDANT:                  Charles Marshall Smith
 CASE NUMBER:                4:17CR40100-1



                                                     SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of: 10 years.


                                                   MANDATORY CONDITIONS
1. You must not commit another federal, state, or local crime.
2. You must not unlawfully possess a controlled substance.
3. You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
   imprisonment and at least two periodic drug tests thereafter, as determined by the Court.
           ❑    The above drug testing condition is suspended, based on the Court's determination that you pose a low risk of future
                substance abuse. (Check, if applicable.)
4.   ■    You must cooperate in the collection of DNA as directed by the probation officer. (Check if applicable.)
5.   ❑    You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
          directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which you reside,
          work, are a student, or were convicted of a qualifying offense. (Check, if applicable.)
6.   ❑    You must participate in an approved program for domestic violence.      (Check, if applicable.)

7. ❑      You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other state authorizing a sentence of
          restitution. (Check if applicable.)

You must comply with the standard conditions that have been adopted by this Court as well as with any other conditions on the attached
page.
               Case 4:17-cr-40100-KES Document 123 Filed 03/26/19 Page 4 of 7 PageID #: 341
                                                                                                                          Judgment - Page 4 of 7

AO 245B (Rev. 11/16) Judgment in a Criminal Case
         Sheet 3A - Supervised Release


 DEFENDANT:                   Charles Marshall Smith
 CASE NUMBER:                 4: 17CR40100-1

                                        STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the Court about, and bring about improvements in your conduct and condition.

 1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
    release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
    frame.
2.   After initially reporting to the probation office, you will receive instructions from the Court or the probation officer about how and
     when you must report to the probation officer, and you must report to the probation officer as instructed.
3.   You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
     Court or the probation officer.
4.   You must answer truthfully the questions asked by your probation officer.
5.   You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
     arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
     the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
     hours of becoming aware of a change or expected change.
6.   You must allow the probation officer to visit you at reasonable times, at your home or elsewhere, and you must permit the probation
     officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.   You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
     doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
     you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
     responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
     days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
     becoming aware of a change or expected change.
8.   You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
     convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
     probation officer.
9.   If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
    designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
    first getting the permission of the Court.
12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may require
    you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the person and
    confirm that you have notified the person about the risk.
13. You must follow the instructions of the probation officer related to the conditions of supervision.
             Case 4:17-cr-40100-KES Document 123 Filed 03/26/19 Page 5 of 7 PageID #: 342
                                                                                                                  Judgment - Page 5 of 7

AO 245B     (Rev. 11/16) Judgment in a Criminal Case
            Conditions of Supervision


DEFENDANT:                  Charles Marshall Smith
CASE NUMBER:                4:17CR40100-1

                                          SPECIAL CONDITIONS OF SUPERVISION

1.        You must participate in an approved job skill-training program at the direction of a probation officer within
          the first 60 days of placement on supervision.

2.        You must submit your person, property, house, residence, vehicle, papers [computers (as defined in 18 U.S.C.
          1030(e)(1)), other electronic communications or data storage devices or media,] or office, to a search
          conducted by a United States Probation Officer(s). Failure to submit to a search may be grounds for revocation
          of release. You shall warn any other occupants that the premises may be subject to searches pursuant to this
          condition. An officer(s) may conduct a search pursuant to this condition only when reasonable suspicion
          exists that you have violated a condition of your supervision and that the areas to be searched contain evidence
          of this violation. Any search must be conducted at a reasonable time and in a reasonable manner.

3.        You must participate, at the direction of a probation officer, in a substance abuse treatment program, which
          may include urine testing up to a maximum of 104 tests per year.




U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the Court and has provided me with a written copy of this
Judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                     Date
               Case 4:17-cr-40100-KES Document 123 Filed 03/26/19 Page 6 of 7 PageID #: 343
                                                                                                                          Judgment - Page 6 of 7

AO 245B (Rev. 11/16) Judgment in a Criminal Case
          Sheet 5 — Criminal Monetary Penalties

 DEFENDANT:                         Charles Marshall Smith
 CASE NUMBER:                       4:17CR40100-1

                                              CRIMINAL MONETARY PENALTIES
       You must pay the total criminal monetary penalties under the Schedule of Payments set below.

                     Assessment                    JVTA Assessment*          Fine                          Restitution
 TOTALS              $100                          Not Applicable            Waived                        None


 ❑       The determination of restitution is deferred until
         An Amended Judgment in a Criminal Case (AO 245C) will be entered after such determination.

 ❑       You must make restitution (including community restitution) to the following payees in the amount listed below.

         If you make a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in the
         priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
         before the United States is paid.

 Name of Payee                                         Total Loss**                Restitution Ordered            Priority or Percentage




 TOTALS

 ❑       Restitution amount ordered pursuant to Plea Agreement $

 ❑       You must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
         fifteenth day after the date of the Judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on the Schedule of Payments
         may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).


 ❑       The Court determined that you do not have the ability to pay interest and it is ordered that:

         ❑      the interest requirement is waived for the      ❑    fine    ❑      restitution.

         ❑      the interest requirement for the   ❑         fine    ❑      restitution is modified as follows:


* Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.
                Case 4:17-cr-40100-KES Document 123 Filed 03/26/19 Page 7 of 7 PageID #: 344
                                                                                                                                  Judgment - Page 7 of 7

A0245B (Rev. 11/16) Judgment in a Criminal Case
         Sheet 6 — Schedule of Payments

 DEFENDANT:                         Charles Marshall Smith
 CASE NUMBER:                       4: 17CR40100-1


                                                       SCHEDULE OF PAYMENTS
 Having assessed your ability to pay, payment of the total criminal monetary penalties is due as follows:

 A •         Lump sum payment of $100                          due immediately, balance due

            ❑      not later than                                   , or

            D      in accordance with      ❑      C,    ❑      D,      ❑      E, or D F below; or


 B     El Payment to begin immediately (may be combined with                  El C,        ❑    D, or       El F below); or

 C     D     Payment in equal                      (e.g., weekly, monthly, quarterly) installments of $
             to commence                                              (e.g., 30 or 60 days) after the date of this Judgment; or

 D     D     Payment in equal                      (e.g., weekly, monthly, quarterly) installments of $
             to commence                                              (e.g., 30 or 60 days) after release from imprisonment to a
             term of supervision; or

 E ❑         Payment of the total restitution and other criminal monetary penalties shall be due in regular quarterly installments of 50% of
             the deposits in your inmate trust account while the you are in custody, or 10% of your inmate trust account while serving
             custody at a Residential Reentry Center. Any portion of the monetary obligation(s) not paid in full prior to your release from
             custody shall be due in monthly installments of $              , such payments to begin         days following your release.


 F 0         Special instructions regarding the payment of criminal monetary penalties:




Unless the Court has expressly ordered otherwise, if this Judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons'
Inmate Financial Responsibility Program, are made to the clerk of the court.

You shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
 El     Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
        and corresponding payee, if appropriate.



O       You shall pay the cost of prosecution.

❑       You shall pay the following court cost(s):

❑       You shall forfeit your interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court
costs.
